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 8
                            IN THE UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
10
      IN RE GOOGLE RTB CONSUMER                      CASE NO. 4:21-CV-02155-YGR
11    PRIVACY LITIGATION
12
                                                     [PROPOSED] ORDER GRANTING
13                                                   PLAINTIFFS’ MOTION PURSUANT
      This document applies to all actions.          TO L.R. 6-3 AND 7-11 TO AMEND
14                                                   CASE SCHEDULE
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                                                         Case No. 4:21-cv-02155-YGR-VKD
              [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO AMEND CASE SCHEDULE
     Case 4:21-cv-02155-YGR           Document 178-3      Filed 04/08/22     Page 2 of 3




 1         On April 8, 2022, plaintiffs filed a motion pursuant to Civil Local Rules 6-3 and 7-11 to
 2 extend the pretrial schedule in this matter by approximately four months and the trial date by

 3 approximately seven months. ECF No. __. This is the first extension of the schedule sought by

 4 plaintiffs. Defendant Google LLC opposes the motion. ECF No. __. Having considered the parties’

 5 submissions, the Court finds that there is good cause to grant the relief requested and extend the

 6 pretrial schedule and trial date in this matter. The previous schedule and the new schedule that will

 7 govern this matter are as follows:

 8
                      EVENT               OLD CASE SCHEDULE              NEW CASE SCHEDULE
 9       Substantial Document           April 21, 2022                  April 21, 2022 or within 28
         Production Complete                                            days of Magistrate Judge
10
                                                                        DeMarchi’s Order(s) on
11                                                                      Pending Discovery Motions:
                                                                        Dkt. Nos. 141, 142, 143,
12
                                                                        157, 171, and 172.
13       Class Certification Motion     Motion: June 23, 2022           October 21, 2022
                                        Opposition: August 4, 2022      December 16, 2022
14
                                        Reply: September 2, 2022        February 3, 2023
15                                      Hearing: September 30,          February 23, 2023 at 2:00
                                        2022 at 2:00 p.m.               p.m.
16
         Fact Discovery Cut-Off         December 15, 2022               April 28, 2023
17       Opening Expert Reports         January 12, 2023                May 26, 2023
         Rebuttal Expert Reports        February 9, 2023                June 23, 2023
18
         Close of Expert Discovery      March 2, 2023                   July 28, 2023
19       Dispositive/Daubert            Motions: March 23, 2023         August 18, 2023
         Motions                        Oppositions: April 20, 2023     September 15, 2023
20
         1 dispositive motion per       Replies: May 11, 2023           October 6, 2023
21       side in the entire case        Hearing: May 30, 2023 at        November 2, 2023 at 2:00
         3 Daubert motions per side     2:00 p.m.                       p.m.
22
         in the entire case
23       Pretrial conference            July 28, 2023 at 9:30 a.m.      February 16, 2024 at 9:30
                                                                        a.m.
24
         Jury Trial                     August 21, 2023 at 9:00         March 18, 2024 at 9:00 a.m.
25                                      a.m.
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                                                         Case No. 4:21-cv-02155-YGR-VKD
              [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO AMEND CASE SCHEDULE
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 1 IT IS SO ORDERED

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     DATED: April __, 2022                     ____________________________________
 3                                             YVONNE GONZALEZ ROGERS
                                               United States District Judge
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             [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO AMEND CASE SCHEDULE
